                                  UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN (Detroit)

 In re:                                                      Chapter 7 No. 18-51298-pjs
 Joanne E. Ackerman
                       Debtor.                               Hon. Phillip J. Shefferly
 ______________________________/

 ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY AND WAIVING THE PROVISION OF
                                FRBP 4001(a)(3)

         Movant, Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through its attorneys, Trott Law, P.C., having

filed a Motion For Relief From The Automatic Stay with respect to the property located at 630 E 3rd St, Monroe, MI

48161-2006; and the approximate market value of the property is $104,020.00 according to SEV; and as of October

31, 2018, the debt owing was approximately $86,184.88, which includes Movant’s Attorney fees and costs for filing

this Motion; and any surplus on the sale of this property shall be distributed pursuant to applicable state law and

procedures; and any deficiency on the sale of this property shall be treated as an unsecured debt; and the Court being in

receipt of the Motion and Certificate of No Response and the Court being fully advised in the premises:

         IT IS HEREBY ORDERED that the Automatic Stay is hereby terminated as to Movant with respect to the

property located at 630 E 3rd St, Monroe, MI 48161-2006 to allow Creditor to commence or continue its federal and/or

state law rights to the property. In the event Creditor deems the property is physically abandoned by the

debtor(s)/homeowner(s), or by consent of the debtor(s)/homeowner(s), Creditor may also seek to shorten the Michigan

post foreclosure statutory redemption period. A Chapter 7 Trustee may have the same rights and defenses as

Debtor(s) should Creditor seek to shorten the redemption period. Movant and/or its successors and assigns may, at its

option, offer, provide and enter into a potential forbearance agreement, loan modification, refinance agreement, deed

in lieu of foreclosure/short sale or other loss mitigation solution. The Movant may contact the Debtor via telephone

or written correspondence to offer such an agreement. Any such agreement shall be non-recourse unless included in

a reaffirmation agreement. This Order is effective immediately upon entry by this Court notwithstanding the

provision of FRBP 4001(a)(3). This Order shall be binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Bankruptcy Code.



Signed on November 27, 2018




   18-51298-pjs          Doc 26       Filed 11/27/18         Entered 11/27/18 16:33:41               Page 1 of 1
